Case 2:05-cr-20083-BBD Document 27 Filed 07/28/05 Page 1 of 2 Page|D 19

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P|aintiff

VS.
CR. NO. 05-20083-D

MZONJAN| KUBHEKA

Defendant.

 

oRDER oN coNTlNuANcE AND sPEchYlNG PERloD 01= ExcLquBLE DELA\/
AND S_ELTM

 

This cause came on for a bond hearing/report date on Ju|y 25, 2005. At that time,
counsel for the defendant requested a continuance of the August 1, 2005 trial date and
requested a Change of Plea hearing date.

The Court granted the request and reset the trial date to September 6, 2005 with

a Change of P|ea hearing date of Thursdav. August 18l 2005. at 1:30 p.m., in
Courtroom 3 9th F|oor of the Federal Building, |V|emphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

1T ls so oRoEREo this LI' day of July, 2005.

B RNICE B. DO ALD
UN|TED STATES D|STR|CT JUDGE

`l'his document entered on the docket sheet in compliance l 7

With Flule 55 and/or 32(b) FFlCrF‘ on d '05

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20083 Was distributed by faX, mail, cr direct printing on
August 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

